                           IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

UNITED STATES OF AMERICA,                             )
                                                      )
                               Plaintiff,             )
                                                      )
                      v.                              )       No. 3:05-CR-124
                                                      )       (JORDAN/GUYTON)
JAMIE IVAN HENRY,                                     )
                                                      )
                               Defendant.             )

                                MEMORANDUM AND ORDER

               All pretrial motions in this case have been referred to the undersigned pursuant to 28

U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

Court as may be appropriate. This case came before the Court on April 12, 2006 for a hearing on

the Motion To Withdraw [Doc. 70] filed by counsel for Jamie Ivan Henry. Attorney Mike Mears

was present, and he stated that he had been retained to represent Jamie Ivan Henry. The defendant

Jamie Ivan Henry was present, and he stated that he agreed with the Motion and that he wished to

be represented by Mr. Mears. The government had no objection.

               Accordingly, the Motion To Withdraw [Doc. 70] is GRANTED and Mike Mears is

substituted as attorney of record in this case for Karmen L. Waters and Aubrey L. Davis.

               IT IS SO ORDERED.


                                              ENTER:


                                                    s/ H. Bruce Guyton
                                              United States Magistrate Judge



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